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STATISTICAL INFORMATION ONLY: Debtor must select the number of each of the following items included in
the Plan.
 0 Valuation of Security 0 Assumption of Executory Contract or Unexpired Lease 0 Lien Avoidance

                                                                                          Last revised: November 14, 2023

                                         UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF NEW JERSEY
                                                District of New Jersey
In Re:       John L Burau                                                Case No.:
                                                                         Judge:
                                             Debtor(s)

                                            CHAPTER 13 PLAN AND MOTIONS

   Original                                  Modified/Notice Required                Date:    April 9, 2024
   Motions Included                          Modified/No Notice Required

                                     THE DEBTOR HAS FILED FOR RELIEF UNDER
                                      CHAPTER 13 OF THE BANKRUPTCY CODE.

                                           YOUR RIGHTS WILL BE AFFECTED

The Court issued a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the confirmation
hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts.
You should read these papers carefully and discuss them with your attorney. Anyone who wishes to oppose any provision
of this Plan or any motion included in it must file a written objection within the time frame stated in the Notice. Your rights
may be affected by this plan. Your claim may be reduced, modified, or eliminated. This Plan may be confirmed and
become binding, and included motions may be granted without further notice or hearing, unless written objection is filed
before the deadline stated in the Notice. The Court may confirm this plan, if there are no timely filed objections, without
further notice. See Bankruptcy Rule 3015. If this plan includes motions to avoid or modify a lien, the lien avoidance or
modification may take place solely within the Chapter 13 confirmation process. The plan confirmation order alone will
avoid or modify the lien. The debtor need not file a separate motion or adversary proceeding to avoid or modify a lien
based on value of the collateral or to reduce the interest rate. An affected lien creditor who wishes to contest said
treatment must file a timely objection and appear at the confirmation hearing to prosecute same.

The following matters may be of particular importance. Debtors must check one box on each line to state
whether the plan includes each of the following items. If an item is checked as “Does Not” or if both boxes are
checked, the provision will be ineffective if set out later in the plan.


THIS PLAN:

  DOES DOES NOT CONTAIN NON-STANDARD PROVISIONS. NON-STANDARD PROVISIONS MUST ALSO BE
SET FORTH IN PART 10.

  DOES DOES NOT LIMIT THE AMOUNT OF A SECURED CLAIM BASED SOLELY ON VALUE OF
COLLATERAL, WHICH MAY RESULT IN A PARTIAL PAYMENT OR NO PAYMENT AT ALL TO THE SECURED
CREDITOR. SEE MOTIONS SET FORTH IN PART 7, IF ANY, AND SPECIFY: 7a/ 7b/ 7c.

  DOES DOES NOT AVOID A JUDICIAL LIEN OR NONPOSSESSORY, NONPURCHASE-MONEY SECURITY
INTEREST. SEE MOTIONS SET FORTH IN PART 7, IF ANY, AND SPECIFY: 7a/ 7b/ 7c

Initial Debtor(s)' Attorney    /s/ RLL          Initial Debtor:       /s/ JLB          Initial Co-Debtor

Part 1: Payment and Length of Plan



                                                                  1
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       a.      The debtor shall pay to the Chapter 13 Trustee $150.00 monthly for 60 months starting on the first of the
               month following the filing of the petition. (If tier payments are proposed) : and then $               per
               month for                months; $                  per month for             months, for a total of 60 months.
       b.      The debtor shall make plan payments to the Trustee from the following sources:
                       Future Earnings
                       Other sources of funding (describe source, amount and date when funds are available):
       c.      Use of real property to satisfy plan obligations:
                        Sale of real property
                        Description:
                        Proposed date for completion:

                         Refinance of real property:
                         Description:
                         Proposed date for completion:

                         Loan modification with respect to mortgage encumbering property:
                         Description:
                         Proposed date for completion:

        d.               The regular monthly mortgage payment will continue pending the sale, refinance or loan
                         modification. See also Part 4.

                        If a Creditor filed a claim for arrearages, the arrearages will / will not be paid by the
                        Chapter 13 Trustee pending an Order approving sale, refinance, or loan modification of the real
                        property.
        e.      For debtors filing joint petition:
                        Debtors propose to have the within Chapter 13 Case jointly administered. If any party objects to
                        joint administration, an objection to confirmation must be timely filed. The objecting party must
                        appear at confirmation to prosecute their objection.

                Initial Debtor:                            Initial Co-Debtor:

Part 2: Adequate Protection                                X NONE
        a. Adequate protection payments will be made in the amount of $          to be paid to the Chapter 13 Trustee
and disbursed pre-confirmation to         (creditor). (Adequate protection payments to be commenced upon order of
the Court.)

        b. Adequate protection payments will be made in the amount of $                                     to be paid directly by the debtor(s)
outside the Plan, pre-confirmation to:        (creditor).

Part 3: Priority Claims (Including Administrative Expenses)

      a.       All allowed priority claims will be paid in full unless the creditor agrees otherwise:
Name of Creditor                                   Type of Priority                                     Amount to be Paid
CHAPTER 13 STANDING TRUSTEE                        ADMINISTRATIVE                               AS ALLOWED BY STATUTE
ATTORNEY FEE BALANCE                               ADMINISTRATIVE                                      BALANCE DUE:
                                                                                                                                      $3,750.00
DOMESTIC SUPPORT OBLIGATION                                                                                                               -NONE-



       b.      Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount:
               Check one:
                 None

                 The allowed priority claims listed below are based on a domestic support obligation that has been
               assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim
               pursuant to 11 U.S.C.1322(a)(4):

                                                                       2
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Name of Creditor                Type of Priority                                Claim Amount                          Amount to be Paid

Part 4: Secured Claims

         a.      Curing Default and Maintaining Payments on Principal Residence:                                    NONE

The Debtor will pay to the Trustee allowed claims for arrearages on monthly obligations and the debtor shall pay directly
to the creditor monthly obligations due after the bankruptcy filing as follows:

                              Collateral or Type of Debt
                              (identify property and add                                            Interest       Amount to be Regular Monthly
                              street address, if                                                    Rate on      Paid to Creditor Payment Direct
Name of Creditor              applicable)                                   Arrearage             Arrearage           by Trustee      to Creditor

         b.      Curing and Maintaining Payments on Non-Principal Residence & other loans or rent arrears:
                 NONE

The Debtor will pay to the Trustee allowed claims for arrearages on monthly obligations and the debtor will pay directly to
the creditor monthly obligations due after the bankruptcy filing as follows:

                              Collateral or Type of Debt
                              (identify property and add                                            Interest       Amount to be Regular Monthly
                              street address, if                                                    Rate on      Paid to Creditor Payment Direct
Name of Creditor              applicable)                                    Arrearage            Arrearage           by Trustee      to Creditor

         c.      Secured claims to be paid in full through the plan which are excluded from 11 U.S.C. 506:                                   NONE

The following claims were either incurred within 910 days before the petition date and are secured by a purchase money
security interest in a motor vehicle acquired for the personal use of the debtor(s), or incurred within one year of the
petition date and secured by a purchase money security interest in any other thing of value:
                               Collateral
                               (identify property and add                                   Total to be Paid Including Interest
                               street address, if                              Amount                   Calculation by Trustee
 Name of Creditor              applicable)                     Interest Rate   of Claim

         d.      Requests for valuation of security, Cram-down, Strip Off & Interest Rate Adjustments                                     NONE

                 1.) The debtor values collateral as indicated below. If the claim may be modified under Section
1322(b)(2), the secured creditor shall be paid the amount listed as the “Value of the Creditor Interest in Collateral,” plus
interest as stated. The portion of any allowed claim that exceeds that value shall be treated as an unsecured claim. If a
secured claim is identified as having “NO VALUE” it shall be treated as an unsecured claim.

                               NOTE: A modification under this Section ALSO REQUIRES
                             the appropriate motion to be filed under Section 7 of the Plan.

                       Collateral
                       (identify property                                                                         Value of              Total
                       and add street                                            Total                            Creditor      Annual Amount to
                       address, if                   Scheduled              Collateral              Superior     Interest in   Interest be Paid by
Name of Creditor       applicable)                        Debt                  Value                 Liens      Collateral       Rate Trustee

-NONE-

                2.) Where the Debtor retains collateral and completes all Plan payments, payment of the full amount of
the allowed secured claim shall discharge the corresponding lien.


         e.      Surrender     NONE
                                                                            3
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                Upon confirmation, the automatic stay is terminated as to surrendered collateral only under 11 U.S.C.
                362(a) and that the stay under 11 U.S.C 1301 shall be terminated in all respects. The Debtor surrenders
                the following
                collateral:

Name of Creditor                     Collateral to be Surrendered                               Value of Surrendered Remaining Unsecured
                                     (identify property and add street                                     Collateral               Debt
                                     address, if
                                     applicable)

        f.      Secured Claims Unaffected by the Plan                     NONE

                The following secured claims are unaffected by the Plan:

                                                                             Collateral (identify property and add street address, if
Name of Creditor                                                             applicable)
CHASE AUTO FINANCE                                                           2020 Subaru Crossteck 50,000 miles
FLAGSTAR BANK                                                                12 White Oak Drive Lodi, NJ 07644 Bergen County
                                                                             Partial Interest with Wife -50% Maria Elena
                                                                             Burau

        g.      Secured Claims to be Paid in Full Through the Plan:                            NONE

Name of Creditor                Collateral (identify property                Amount                     Interest       Total Amount to be Paid
                                and add street address, if                                              Rate       through the plan by Trustee
                                applicable)
Part 5: Unsecured Claims               NONE


        a.      Not separately classified allowed non-priority unsecured claims shall be paid:
                       Not less than $          to be distributed pro rata

                         Not less than              percent

                         Pro Rata distribution from any remaining funds

        b.      Separately classified unsecured claims shall be treated as follows:

Name of Creditor                     Basis for Separate Classification                       Treatment                  Amount to be Paid by
                                                                                                                                     Trustee

Part 6: Executory Contracts and Unexpired Leases                                   X NONE


(NOTE: See time limitations set forth in 11 U.S.C. 365(d)(4) that may prevent assumption of non-residential real property
leases in this Plan.)

All executory contracts and unexpired leases, not previously rejected by operation of law, are rejected, except the
following, which are assumed:

Name of            Arrears to be Cured          Nature of Contract or Lease Treatment by Debtor                        Post-Petition Payment
Creditor           and paid by Trustee                                                                                 to be Paid Directly to
                                                                                                                       Creditor by Debtor

Part 7: Motions        X NONE


NOTE: All plans containing motions must be served on all affected lienholders, together with local form, Notice
of
Chapter 13 Plan Transmittal, within the time and in the manner set forth in D.N.J. LBR 3015-1. A Certification of
                                                                         4
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Service, Notice of Chapter 13 Plan Transmittal, and valuation must be filed with the Clerk of Court when the plan
and transmittal notice are served


        a.      Motion to Avoid Liens under 11 U.S.C. Section 522(f).                             NONE

The Debtor moves to avoid the following liens that impair exemptions:

                 Nature of
                 Collateral
                 (identify
                 property and                                                                                        Sum of All
                 add street                                                                             Amount of   Other Liens       Amount of
Name of          address, if                               Amount of               Value of               Claimed   Against the       Lien to be
Creditor         applicable)      Type of Lien                 Lien               Collateral            Exemption      Property         Avoided


        b.      Motion to Avoid Liens and Reclassify Claim from Secured to Completely Unsecured.                                     NONE

                 The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral
consistent with Part 4 above:


                   Collateral (identify                                                                        Value of
                   property and add                                 Total                                      Creditor's          Total Amount
Name of            street address if           Scheduled            Collateral                                 Interest in          of Lien to be
Creditor           applicable)                 Debt                 Value                  Superior Liens      Collateral           Reclassified

        c.      Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially
                Unsecured.     NONE

                 The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to
void liens on collateral consistent with Part 4 above:

                   Collateral (identify
                   property and add                                  Total                                                         Amount to be
Name of            street address if        Scheduled                Collateral                Amount to be Deemed                Reclassified as
Creditor           applicable)              Debt                     Value                                  Secured                  Unsecured

        d.      Where the Debtor retains collateral, upon completion of the Plan and issuance of the Discharge, affected
                Debtor may take all steps necessary to remove of record any lien or portion of any lien discharged.

Part 8: Other Plan Provisions
       a.     Vesting of Property of the Estate


                Upon Confirmation
                Upon Discharge

        b.      Payment Notices

        Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or coupons to the
Debtor notwithstanding the automatic stay.

        c.      Order of Distribution

        The Trustee shall pay allowed claims in the following order:


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                  1)    Chapter 13 Standing Trustee Fees, upon receipt of funds
                  2)    Other Administrative Claims
                  3)    Secured Claims
                  4)    Lease Arrearages
                  5)    Priority Claims
                  6)    General Unsecured Claims

        d.       Post-Petition Claims

       The Trustee is, is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section 1305(a) in
the amount filed by the post-petition claimant.

Part 9: Modification          X NONE


NOTE: Modification of a plan does not require that a separate motion be filed. A modified plan must be served in
accordance with D.N.J. LBR 3015-2.

        If this Plan modifies a Plan previously filed in this case, complete the information below.

       Date of Plan being modified:                      .
Explain below why the plan is being modified:


Are Schedules I and J being filed simultaneously with this Modified Plan?                                      Yes       No


Part 10 : Non-Standard Provision(s): Signatures Required
        Non-Standard Provisions Requiring Separate Signatures:
          NONE
          Explain here:
       Any non-standard provisions placed elsewhere in this plan are ineffective.

Signatures

The Debtor(s) and the attorney for the Debtor(s), if any, must sign this Plan.

By signing and filing this document, the debtor(s), if not represented by an attorney, or the attorney for the debtor(s) certify
that the wording and order of the provisions in this Chapter 13 Plan are identical to Local Form, Chapter 13 Plan and
Motions.

I certify under penalty of perjury that the above is true.

Date:    April    9, 2024                                            /s/ John L Burau
                                                                     John L Burau
                                                                     Debtor
Date:
                                                                     Joint Debtor


Date     April    9, 2024                                            /s/ Russell L. Low
                                                                     Russell L. Low 4745
                                                                     Attorney for the Debtor(s)




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